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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

 U.S. NAVY SEALs 1-26, et al.,                   §
                                                 §
      Plaintiffs,                                §
                                                 §
 v.                                              §    Civil Action No. 4:21-cv-01236-O
                                                 §
 JOSEPH R. BIDEN, JR., et al.,                   §
                                                 §
                                                 §
      Defendants.                                §


                                             ORDER

         Before the Court are Defendants’ Emergency Motion for Protective Order Regarding the

Lescher Deposition (ECF No. 146); Brief in Support (ECF No. 147); and Appendix (ECF No.

148), all filed May 3, 2022. The Court issued an Order expediting briefing. ECF No. 149. In the

meantime, Lescher was not required to attend deposition. Id. Plaintiffs responded on May 9 (ECF

No. 152), and Defendants replied on May 11 (ECF No. 153).

         In an attempt to accommodate the demands on the VCNO’s schedule, as well as Plaintiffs’

counsel’s vacation dates, the Court ORDERS that the deposition take place on a mutually

convenient date between June 30, 2022 and July 8, 2022, in or near Washington, D.C. While

scheduling conflicts are difficult for all, the Court ORDERS counsel and the deponent make

themselves available within this window.

         As required by the Court’s Order on the Motion to Dismiss (ECF No. 150), the parties shall

file an updated Joint Report with proposed discovery deadlines now that the Court has resolved

the Emergency Motion. See Joint Report, ECF No. 142.

         SO ORDERED on this 11th day of May, 2022.

                                                       _____________________________________
                                                       Reed O’Connor
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                                                       UNITED STATES DISTRICT JUDGE
